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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 TAMARA SHANAHAN,

                PLAINTIFF,                       Civil Action No. 2:21-cv-00595-TJS
        v.

 ETHAN ALLEN RETAIL, INC.
 KATE SAVINO and ROBERT
 KALINA,

                DEFENDANTS.


                    PLAINTIFF’S RESPONSE IN OPPOSITION
              TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Plaintiff, Tamara Shanahan, respectfully requests that this Honorable Court deny

Defendants’ Motion for Summary Judgment. In support of her Response in Opposition to

Defendants’ Motion, Plaintiff relies upon the reasoning and authority set forth in the

accompanying Brief.

                                                 Respectfully submitted,

                                                 BELL & BELL LLP

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DATED: December 10, 2021
